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            Exhibit 
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From:            Davida Brook
To:              Driscoll, Robert; Jonathan Ross; Katie Sammons; Laranda Walker; Elizabeth Hadaway; Dominion
                 ListserveSusmanGodfrey
Cc:              Carry, Alfred; Plunkett, Daniel T.; Stephen Shackelford; parker@parkerdk.com; bpickett@jw.com;
                 blades@parkerdk.com; cbutzer@jw.com; cbabcock@jw.com; chris@mck-lawyers.com; cvitale@jw.com;
                 grecian@parkerdk.com; Daniel.Marvin@kennedyslaw.com; Dctobin@tobinoconnor.com; dmyers@jw.com;
                 wright@parkerdk.com; gsinger@laurosinger.com; thorvig@parkerdk.com; jglover@jw.com;
                 jlauro@laurosinger.com; jedwards@jw.com; jneerman@jw.com; pull@parkerdk.com; sibley@camarasibley.com;
                 joshua.mooney@kennedyslaw.com; johnson@parkerdk.com; Marc@coburngreenbaum.com;
                 marc.casarino@kennedyslaw.com; mblaesche@jw.com; nhamilton@jw.com; greene@parkerdk.com;
                 rcynkar@mck-lawyers.com; Driscoll, Robert; russell@parkerdk.com; Teresa.Cinnamond@kennedyslaw.com;
                 mccotter@boydengrayassociates.com
Subject:         Re: Notice of Public Disclosure of Dominion’s Confidential Discovery Material
Date:            Monday, March 11, 2024 10:20:26 PM
Attachments:     pastedImage.png




Bob:

We received your mail below. Mr. Byrne’s counsel (Ms. Lambert) has
flagrantly violated the Protective Order. Although your email provides
notice of the breach, we cannot assess the extent or effect of it without
additional information. Given the urgency of the issue, we request you do
the following, as we continue to assess the situation:

        Confirm immediately that Ms. Lambert and anyone working for or
        with her no longer has access to any documents produced by
        Dominion in this case, including any electronic database access or
        paper copies. We assume that you shut off any such access
        immediately upon realizing this breach occurred, but if you have not
        done so, please do so immediately, and confirm that you have done so.

        By end of day March 12, 2024:
             Clarify precisely what you communicated and via what form you
             “asked Ms. Lambert to take immediate steps and reasonable
             efforts to prevent further disclosure of Confidential Discovery
             Material.” If the conversation was written, please provide a copy
             of the communication. If the communication was oral, please
             state the time of the call and its participants.

               Describe every step you have already undertaken or that is
               underway to determine the scope of the breach and to ensure it
               is not continuing.
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           Provide the specific facts and circumstances surrounding your
           discovery of the breach, including what you learned and how you
           learned it.

           Provide the date of any fee agreement between Ms. Lambert and
           Mr. Byrne and the scope of representation. If no such agreement
           exists, state that fact and provide the date on which you
           understand that a lawyer/client relationship began.

     By end of day March 13, 2024, provide a complete and accurate list of
     all Dominion-produced documents and information provided to Ms.
     Lambert (or anyone working with her) and describe the method and
     date of access (e-discovery platform, paper copies, etc.).

     By end of day March 14, 2024, provide an affidavit under oath from
     Ms. Lambert attesting (i) to whom she leaked, released, or otherwise
     disclosed documents or information protected by the Amended
     Protective Order (including in court filings in any cases outside of this
     case); (ii) how and when she provided it; (iii) every occasion on which
     she did so; and (iv) for each such instance, what specifically was
     leaked, released, or otherwise disclosed.

We are copying in all defense counsel as we intend to discuss the breach
further during tomorrow morning’s meet and confer call. We also intend to
raise it with the Magistrate Judge at the hearing next Monday and as such
will add it to the chart of issues circulated earlier today.

Regards,

Davida

From: owner-dominion@lists.susmangodfrey.com <owner-
dominion@lists.susmangodfrey.com> on behalf of Driscoll, Robert
<rdriscoll@mcglinchey.com>
Date: Monday, March 11, 2024 at 4:08ௗPM
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To: Jonathan Ross <JROSS@SusmanGodfrey.com>, Katie Sammons
<KSAMMONS@SusmanGodfrey.com>, Laranda Walker
<LWalker@susmangodfrey.com>, Elizabeth Hadaway
<EHadaway@susmangodfrey.com>, Dominion ListserveSusmanGodfrey
<DOMINION@LISTS.SUSMANGODFREY.COM>
Cc: Carry, Alfred <acarry@mcglinchey.com>, Plunkett, Daniel T.
<dplunkett@mcglinchey.com>
Subject: Notice of Public Disclosure of Dominion’s Confidential Discovery Material

EXTERNAL Email
Dear counsel,

It has recently come to our attention that Confidential Discovery Material produced by Dominion in
this case has been disclosed in a public filing in Michigan by Stefanie Lambert. Ms. Lambert had
access to Confidential Discovery Material as an attorney for Patrick Byrne who was assisting in this
litigation. Prior to her gaining access to any Confidential Discovery Material, she signed an
Undertaking in which she agreed to use all Discovery Material only as permitted by the Protective
Order. Attached is a copy of her signed Undertaking.

Dominion’s Confidential Discovery Material appears to have been shared with a non-party (i.e.,
Sheriff Dar Leaf of Barry County, Michigan) by Stefanie Lambert and publicly disclosed by her as part
of a filing she made in the criminal case styled People of the State of Michigan vs. Stefanie Lynn
Lambert Junttila, which is currently pending before the Sixth Circuit Court in Oakland County,
Michigan as Case Number 2023-285759-FH. A copy of her court filing captioned “Defendant’s
Emergency Motion for a Stay Pending Interlocutory Appellate Review” is attached. Dominion’s
Confidential Discovery Material is included as an exhibit at pages 12 through 59.

We had no advance knowledge of this use. We only became aware of the public disclosure by virtue
of the below tweet.




See https://x.com/Real_EIF/status/1767198261033554072?s=20 (last visited Mar. 11, 2024).
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Consistent with the Protective Order, this email is intended to serve as notice that Dominion’s
Confidential Discovery Material appears to have been used and disclosed by Stefanie Lambert in a
manner that is not authorized by the Protective Order. Her contact information follows below. We
do not have the contact information for Sheriff Dar Leaf of Barry County, Michigan.

            Stefanie Lambert
            400 Renaissance Ctr., Fl 26
            Detroit, MI 48243
            (313) 410-6872
            attorneylambert@protonmail.com

Please know that we have asked Ms. Lambert to take immediate steps and reasonable efforts to
prevent further disclosure of Confidential Discovery Material.

Sincerely,

Bob Driscoll


 Robert Neil Driscoll
 Attorney at Law

 rdriscoll@mcglinchey.com
 1275 Pennsylvania Avenue NW, Suite 420, Washington, DC 20004
 T (202) 802-9950 F (202) 403-3870

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 Alabama California Florida Louisiana Massachusetts Mississippi New York
 Ohio Rhode Island Tennessee Texas Washington Washington, DC




www.mcglinchey.com

McGlinchey Stafford, PLLC in Alabama, Florida, Louisiana, Massachusetts, Mississippi, New York, Ohio, Tennessee, Texas,
Washington, and Washington DC and McGlinchey Stafford, LLP in California.

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